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                                                                                                22-cv-752
                                                                                               Gujarati, J.
                                                                                             Scanlon, M.J.

                                                                                         S.D.N.Y. – N.Y.C.
                                                                                               21-cv-7863
                                                                                               21-cv-8773
                                                                                              Buchwald, J.


                               United States Court of Appeals
                                                    FOR THE
                                             SECOND CIRCUIT
                                             _________________                                           Oct 11 2022


                     At a stated term of the United States Court of Appeals for the Second
       Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
       in the City of New York, on the 11th day of October, two thousand twenty-two.

       Present:
                      Pierre N. Leval,
                      Denny Chin,
                      Eunice C. Lee,
                                            Circuit Judges.

       New Yorkers For Religious Liberty, Inc., et al.,

                                     Plaintiffs-Appellants,

       Matthew Keil, et al.,

                                     Consolidated Plaintiffs-Appellants,

                      v.                                                         22-1801 (L)
                                                                                 22-1876 (Con)

       City of New York, et al.,

                                     Defendants-Appellees,

       Roberta Reardon,
                                     Defendant.


       In each appeal, Appellants move for an injunction pending appeal, for leave to file a late reply,
       and for leave to file an oversized principal brief. Appellants also move in 22-1801(L) for an



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expedited briefing schedule. Upon due consideration, it is hereby ORDERED that the motions to
file late replies and to file an oversized brief are GRANTED. Appellants shall file a single
principal brief not to exceed 24,500 words.

Insofar as Appellants in the lead appeal challenge the private sector employee vaccine mandate,
the appeal is moot. Therefore, it is further ORDERED that the lead appeal is DISMISSED solely
as to Appellants Janine DeMartini, Matthew Rivera, and Laura Satira, but only to the extent that
they challenge the private sector employee vaccine mandate, because they “lack a legally
cognizable interest in the outcome” of the appeal. Tann v. Bennett, 807 F.3d 51, 52 (2d Cir. 2015)
(per curiam) (internal quotations omitted).

It is further ORDERED that the motions for injunctions pending appeal are DENIED because
Appellants have failed to satisfy the requisite standard for an injunction pending appeal. See
Agudath Isr. of Am. v. Cuomo, 980 F.3d 222, 225–26 (2d Cir. 2020) (per curiam).

It is further ORDERED that the request for an expedited briefing schedule is GRANTED.
Appellants’ brief is due October 17, 2022. Appellees’ brief is due no later than November 21,
2022, or 35 days from the date Appellants’ brief is filed, whichever date is sooner. The Clerk of
Court is directed to schedule this appeal for the first available panel after the appeal is fully briefed.

                                                FOR THE COURT:
                                                Catherine O’Hagan Wolfe, Clerk of Court




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